22 F.3d 897
    Charles K. ELDER;  Beverly S. Elder, husband and wife,Plaintiffs-Appellants,v.R.D. HOLLOWAY;  Other Unknown Employees and/or Agents,individually and in their official capacity aspolice officers for the Ada CountySheriff's Office, et al.,Defendants-Appellees.
    No. 91-35146.
    United States Court of Appeals,Ninth Circuit.
    April 11, 1994.
    
      On Remand from the United States Supreme Court.
      Before:  WALLACE, Chief Judge, HUG, and RYMER, Circuit Judges.
    
    
      1
      The mandate of the Supreme Court having issued in Elder v. Holloway, --- U.S. ----, 114 S.Ct. 1019, 127 L.Ed.2d 344 (1994), we vacate the judgment of the district court, 751 F.Supp. 858 (D.Idaho 1990), and remand for reconsideration of the qualified immunity issue in light of United States v. Al-Azzawy, 784 F.2d 890 (9th Cir.1985), cert. denied, 476 U.S. 1144, 106 S.Ct. 2255, 90 L.Ed.2d 700 (1986), and all other relevant authority.  Like the Supreme Court, we express no view as to whether Al-Azzawy's holding with respect to exigent circumstances, id. at 894, entitles defendants to qualified immunity.  See Elder, --- U.S. at ----, 114 S.Ct. at 1023.
    
    
      2
      VACATED AND REMANDED.
    
    